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                         Exhibit 117

                 April 30, 2024 Notice
                 Delivery Confirmation
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From:        TrackingUpdates@fedex.com
To:          Josh Weiner
Subject:     FedEx Shipment 776170648118: Your package has been delivered
Date:        5/2/2024 11:07:00 AM
CC:
BCC:

Message:
Warning: External email, use care with links & attachments




               Hi. Your package was
           delivered Thu, 05/02/2024 at
                     10:00am.



                 Delivered to 10805 OLD MILL RD, OMAHA, NE 68154

                             OBTAIN PROOF OF DELIVERY




                                            1
Case 1:21-cv-11205-FDS     Document 182-117          Filed 01/06/25   Page 3 of 5




               Delivery picture not showing? View in browser.




                  How was your delivery ?




              TRACKING NUMBER            776170648118


                             FROM        SPARTA Insurance Holdings, Inc
                                         5 Batterson Park Road
                                         3rd Floor
                                         FARMINGTON, CT, US, 06032


                               TO        Pennsylvania Insurance Company
                                         Jeffrey A. Silver
                                         10805 OLD MILL RD
                                         OMAHA, NE, US, 68154


                         SHIP DATE       Tue 4/30/2024 07:09 PM


                  DELIVERED TO           Shipping/Receiving




                                     2
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                     PACKAGING TYPE            FedEx Envelope


                                ORIGIN         FARMINGTON, CT, US, 06032


                         DESTINATION           OMAHA, NE, US, 68154


                    SPECIAL HANDLING           Deliver Weekday


                   NUMBER OF PIECES            1


               TOTAL SHIPMENT WEIGHT           0.50 LB


                        SERVICE TYPE           FedEx 2Day®




                                                   Absolutely, positively
                                                   committed to you
                                                   Every delivery deserves extra care.
                                                   Even if it means one of our drivers
                                                   takes on the role of ringbearer for a
                                                   customer's wedding. We'll work to
                                                   make your next delivery special too.


                                                   WATCH FEDEX IN ACTION




FOLLOW FEDEX




   Please do not respond to this message. This email was sent from an unattended mailbox.
This report was generated at approximately 10:06 AM CDT 05/02/2024.




                                           3
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  All weights are estimated.


  To track the latest status of your shipment, click on the tracking number above.


  Standard transit is the date and time the package is scheduled to be delivered by, based on the
  selected service, destination and ship date. Limitations and exceptions may apply. Please see
  the FedEx Service Guide for terms and conditions of service, including the FedEx Money-Back
  Guarantee, or contact your FedEx Customer Support representative.


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  Thank you for your business.




Attachments:
      DeliveryPicture.jpeg




                                                 4
